






















IN THE COURT OF CRIMINAL APPEALS
OF TEXAS



NO. WR-59,649-03




DERRICK DARNELL PORTER, Relator

v.

HARRIS COUNTY DISTRICT CLERK, Respondent




ON APPLICATION FOR A WRIT OF MANDAMUS
CAUSE NO. 865786
IN THE 248TH JUDICIAL DISTRICT COURT FROM HARRIS COUNTY




&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Per curiam.

O R D E R


&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Relator has filed a motion for leave to file a writ of mandamus pursuant to the original
jurisdiction of this Court.  In it, he contends that he filed an application for a writ of habeas
corpus in the 248th Judicial District Court of Harris County, that more than 35 days have
elapsed, and that the application has not yet been forwarded to this Court.  
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;In these circumstances, additional facts are needed.  The respondent, the District
Clerk of  Harris County, is ordered to file a response, which may be made by: submitting the
record on such habeas corpus application; submitting a copy of a timely filed order which
designates issues to be investigated, see McCree v. Hampton, 824 S.W.2d 578 (Tex. Crim.
App. 1992); or stating that Relator has not filed an application for habeas corpus in Harris
County.  Should the response include an order designating issues, proof of the date the
district attorney’s office was served with the habeas application shall also be submitted with
the response. 
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;This application for leave to file a writ of mandamus shall be held in abeyance until
the respondent has submitted the appropriate response.  Such response shall be submitted
within 30 days of the date of this order.


Filed: February 2, 2011
Do not publish&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;


